       Case 4:19-cr-00832 Document 54 Filed on 01/27/20 in TXSD Page 1 of 1
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               January 27, 2020
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
v.                                          §      Criminal Action No. 4:19-cr-832-02
                                            §
                                            §
STEVEN O. BRYANT (2)                        §


                          ORDER GRANTING
     DEFENDANT STEVEN O. BRYANTS UNOPPOSED MOTION FOR LEAVE
                 TO MODIFY CONDITIONS OF RELEASE

        On this date the Court considered Defendant Steven O. Bryants Unopposed Motion

for Leave to Modify Conditions of Release in the above-referenced cause and, after

considering said motion, finds that the modification is appropriate. This Court hereby

GRANTS modification of the terms of his release. It is therefore

        (1)   ORDERED that Mr. Bryant will be allowed to travel outside Harris County
              and the counties bordering Harris County for the limited purpose of
              performing contract work; and

        (2)   ORDERED that Mr. Bryant will notify the U.S. Probation Office about the
              schedule for his contract work, and comply with any other requirements from
              the U.S. Probation Officer regarding his travel.

        SIGNED the 27th day of January, 2020.




                                         Dena Hanovice Palermo.
                                         US Magistrate Judge
